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 Attorneys for Plaintiffs

                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF HAWAII

 TODD YUKUTAKE and DAVID           )
 KIKUKAWA                          )
                                   )
 Plaintiffs,                       )
                                   ) Civil Action No. 19-578 (JMS-RT)
 v.                                )
                                   )
 CLARE E. CONNORS, in her          ) DECLARATION OF COUNSEL
 Official Capacity as the Attorney )
 General of the State of Hawaii    )
                                   )
                                   )    JUDGE: Hon. J. Michael Seabright
                                   )
 Defendants.                       )
 _______________________________)

              DECLARATION OF STEPHEN D. STAMBOULIEH
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       I, Stephen D. Stamboulieh, declare as follows:

    1. I am an attorney with the law firm of Stamboulieh Law, PLLC, counsel for

 Plaintiffs in the above-captioned action. I am admitted pro hac vice in this matter.

    2. I am authorized and competent to testify to the matters contained in this

 declaration, and unless otherwise indicated, I make this declaration based upon

 personal knowledge.

    3. I am an attorney licensed to practice in all state and federal courts in

 Mississippi; the Northern District of Texas; Southern District of Texas; Washington,

 D.C. District Court; Second, Third, Fourth, Fifth, Sixth, Ninth & District of

 Columbia Circuit Courts of Appeals; United States Court of Federal Claims;

 Northern District of New York; the United States Supreme Court and the United

 States Court of Appeals for the Federal Circuit. I am a member in good standing of

 all the aforementioned courts.

    4. Attached hereto as Exhibit “1” is a true and accurate copy of the Declaration

 of Jon Abbott.

    5. Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

 foregoing is true and correct.

 Dated: September 13, 2021.

                           Respectfully submitted,

                                  Counsel for Plaintiffs


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                              /s/ Stephen D. Stamboulieh
                              Stephen D. Stamboulieh
                              Stamboulieh Law, PLLC
                              *Admitted Pro Hac Vice




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